ase 1:19-m¢ of 7
Case 1:19-mc-00401-AT Document 3-7 Filed 08/29/19 Page 1

NOTICE OF AN INVESTMENT DISPUTE PURSUANT TO ARTICLE 10 OF THE
TREATY BETWEEN THE GOVERNMENT OF THE RUSSIAN FEDERATION AND

Mr. Vladimir Antonov
Investor

The Republic of Lithuania

Party

Served on the Republic of Lithuania: c/o

To:

Ms. Dalia Grybauskaité

President of the Republic of Lithuania

Office of the President of the Republic of Lithuania
S. Daukanto a. 3, LT 01122 Vaulnius,

Tel. +3705 2064154,

Fax +370 5 2664145,

I2-mail: kanceliarijad prosidene dy

Registration code 1886090 16

Mr. Andrius Kubilius

Prime Minister of the Republic of Lithuania
Government of the Republic of Lithuania
Gedimino Ave. 1 1, 1-01103 Valhius,

Tel. +370 5: 266373 Ly

Fax +370 5 2663895.

i-mail M Pry mvba cOlrvdt

Registration code TS8604574

Mr. Remigijus Simagius

Minister of Justice of the Republic of Lithuania
Ministry of Justice of the Republic of Lithuania
Gedimino Ave. 30, L.T-O1104 Vilnius,

Tel. +370 5 266 29 81,

Fax +370 5 262 59 40,

E-mail: rastine di cmt

Registration code: 188604955
Case 1:19-mc-00401-AT Document 3-7 Filed 08/29/19 Page 2 of 7

Mr. Audronius AZubalis

Minister of Foreign Affairs of the Republic of Lithuania
Ministry of Foreign Affairs of the Republic of Lithuania
J. Tumo-VaiZganto str. 2, LT-01511 Vilnius,

Tel. +370 5 236 24 44

Fax +370 5 231 3090,

E-mail: urm@eurim.lt

Registration code: 188613242

Ms. Ingrida Simonyté

Minister of Finance of the Republic of Lithuania
Ministry of Finance of the Republic of Lithuania
Lukiskiy 2, LT-01512 Vilnius,

Tel. + 370 5 239 0000,

Fax + 370 5 279 1481,

E-mail: finmin@ finmin tt

Registration code: 288601650

Mr. Vitas Vasiliauskas

Chairman of the Board of the Central Bank of the Republic of Lithuania
Central Bank of the Republic of Lithuania

Gedimino Ave. 6, LT-01103 V inius,

Tel: +370 5 268 0029,

Fax: +370 5 262 8124,

Registration code: 188607684

Filed by:

Sayenko Kharenko LLC
10 Muzeyny Provulok
Kyiv 01001, Ukraine
Tel.: +380 44 499 6000
Fax: +380 44 499 6250
E-mail: info@sk.ua

[e] April 2012
1,

Mr Vladimir Antonov (the “Investor”) is a well-known European banker and businessman
who, as one of the Convers Gtoup owners, directly and indirectly owned and continiues to
own several very substantial businesses in the Baltic states such as Latvia's national airline Air
Baltic, the largest Latvian railway company RVR, a Latvian media holding telegraph LV which
owns newspapers and radio stations in Latvia, the “Lietuvos Rytas”, a Lithuanian media
gfoup comprising of a publishing house, an internet portal, a TV station and Lithuania's
largest newspaper (“Lietuvos Rytas”) by circulation.

Within the meaning of Article 1a of the Treaty between the Government of the Republic of
Lithuania and the Government of the Russian Federation concerning the encouragement and
reciprocal protection of investment dated 29 June 1999 (the “BIT”), Savestor’ means any
te

Case 1:19-mc-00401-AT Document 3-7 Filed 08/29/19 Page 3 of 7

individual being a citizen either of the Russian Federation or of the Republic of Lithuania and
eligible to invest in the territory of other contracting party pursuant to the legislation of such
party. The Investor as a citizen of the Russian Federation and as an individual investing in the
Republic of Lithuania is an investor under the BIT, According to Article 2 of the BIT
‘avestment’ means any types of assets invested by an investor of one contracung party in the
territory of the other contracting part: pursuant to the legislation of such party and includes,
énter alia, bat nor limited to:

a. movable and immovable property and relared interests:

b. shares, contributions, bonds and other forms of parucipation in enterprises and

companies; and

c

any other assets.

This means thar all shares of AB Snoras Bank (Snoras”) owned by the Investor shall be
considered investments under the BIT.

oe

In 2004 on the tequest of the Bank of Lithuania the Investor acquired 68.1 per cent of the
issued and fully paid up ordinary shares in Snoras from Convers Group which held a
controlling stake in Snoras since 20( 13, At the time of the acquisition by the Investor, Snoras
being one of the oldest banks in the country was ranked 7" in Lithuania by capital and 6" by
assets. The then Chairman of the Management Board and Presidenr of Snoras, Mr. Raimondas
Baranauskas acquired 25.3] per cent of Snoras, leaving 6.59 per cent of the issued and fully
paid up share capital in the free float on the Lithuanian Stock i:xchange. The Investor and Mr.
Raimondas Baranauskas had intended to grow Snoras into a substantial European bank and
the principal financing vehicle for the Convers Group. Shortly after completion of the
acguisition, Snoras moved its headquaters to Vilnius and obtained a permission to set up its
retail chain.

Together with Mr, Raimondas Baranauskas the lnvestor has embarked on the exercise of
gtowing Snoras and developing new, often innovative and unique to Convers Group
products. By 2011 Snoras banking Stoup was comprised of Snoras, Latvijas Krajbanka (the
oldest bank in J atvia), and nine other subsidiary companies: UAB “SNORAS leasing”, UAB
“SNORAS Investment Management“, AB “Finasta Holding“, UAB “SNORAS Media", UAB
“SNORAS Development“, UAB “SNORQO valda“, OU "Real Estate Investment
Management" and UAB “Dieveris. Snoras lead group companies provided funding, leasing
Services, asset management, corporate and retail banking services, real estate management,
construction and renovation services, custody, brokerage and settlement services for
Lithuanian and Baltic countries’ market patticipants. Snoras in 2011 became fifth bank in
Lithuania size-wise along with such banks as Swedbank, SEB bank, DNB bank, and Nordea
bank Finland, with over 2350 employees, who provided services to more than f.? million
clierits.. Snoras had the largest and the most modern retail network in the ivpublic of
Lithesnia: 257 banking outlets, 12 regional branches existing in each Lithuanian district,
Estonia and Latvia, 15 branches’ and 230 saving units functioning across the country.
Snoras operated 339 cash machines, had representative offices in the United Kingdom, the
Kingdom of Belgium, Czech Republic, Ukraine, the Republic of Belarus and was the holder
of the entire issued and paid up share capital in “Pointon York Limited”, a credit institution
based and authorized to conduct investment business in the United Kingdom. Snoras had an
unlimited banking licence No.8 which allowed Snoras to engage in any type of banking
business in Lithuania.

The assets of Snoras (excluding Snoras group) between 2003 and 2011 grew from c, US$400
milion (980 million Litas) in assets to c. US$3,3 billion (8,09 billion Litas) with deposits
Case 1:19-mc-00401-AT Document 3-7 Filed 08/29/19 Page 4 of 7

reaching a record US$2,5 billion (6,13 billion Litas). To ensure such tapid growth the Investor
and Convers Group provided shareholder loans and additional equity on a regular basis. In
2005 the Investor has provided Snoras with a €20 million subordinated loan, in 2009 he
subscribed to another subordinated loan of €7,5 million. In addition to these financings the
Investor in 2009 subscribed to the indefinite term bonds of 10,5 million aggregate nominal
value,

In 2011 the Investor has successfully negotiated an equity investment of US$155 million (380
million Litas) into Snoras by an alternative investment fund “JFP Emerging Europe
Momentum Fund“. If the Bank of Lithuania were to allow registration of the new shate issue,
the issued and fully paid up capital of Snoras would have increased by 1,8 times — from 494,2
million Litas to 874,3 million Litas. The demand for the new shares twice exceeded the supply.
The investors’ interest in new Snoras shares showed that Snoras business was positively valued
by investor community. If the 2011 share issue would not have been blocked by the Bank of
Lithuania, Snoras would have become the third largest bank in the country by capital,

Fitch, a leading international ratings agency, independently rated Snoras as of 1 April 2011, as
follows: Long-term B+; Short-term B; Individual 0/E; Support 4; Rating outlook stable. In
summary, Snoras was solvent with no liquidity problems at all material times in the lead up to
intervention by the Bank of Lithuania.

Following the acquisition of 68.1 per cent of ordinary issued shares in Snoras the Investor
legitimately and reasonably worked to develop this enterprise and to profit as a shareholder
and as a creditor. Since the Investor’s acquisition of the shates the Republic of Lithuania
assumed a duty to protect the Investor’s title to and tights in the ordinary shares acquired by
the Investor under international obligations binding the Republic of Lithuania and national
laws and regulations, such as Article 23 of the Constitution of the Republic of Lithuania.

5.

Until 2008 the Social Democratic Party (the “SDP”) was in power in Lithuania and both the
Investor and Mr. Raimondas Baranauskas were close to the SDP leader, Mr. Algirdas Mykolas
Brazauskas.

In 2008, the Conservative Party came to power, exhibiting much greater anti-Russian rhetoric
than had been evident under the SDP.

In 2009, Snoras, through its wholly owned subsidiary Snoras Media, acquired a 34 per cent
stake in Lietuvos Rytas. As well as a 34 per cent shareholding in Lietuvos Rytas, Snoras Media
acquired Lietuvos Rytas's debt and thus had effective operational control over it with editorial
control remaining with the Chief Editor. Lietuvos Rytas has the largest circulation in the
country and as a result has the potential to wield great political influence. It has always been
strongly critical of the Conservative government and of the President Ms. Dalia Grybauskaite
who, whilst ostensibly a member of the Independent Patty, was elected with the strong
support of the ruling Conservative Party on 12 July 2009.

From around 2009 onwards, Snoras was subjected to disproportionate, discriminatory and
financially damaging intervention by the state, led by the Bank of Lithuania.

In January 2011, the Bank of Lithuania prohibited Snoras from making loans to foreign
nationals and non-residents in general, and Russian companies and individuals in particular.
The prohibition extended to existing loans, with Snoras being forced to reduce loans to
Russian nationals to below 50 per cent of its total capital. No other banks in Lithuania were
/

Case 1:19-mc-00401-AT Document 3-7 Filed 08/29/19 Page 5 of 7

put under so much pressure. In particular, no other banks were compelled to reduce and recall
loans to foreigners. When the management of Snoras asked the Bank of Lithuania why they
were imposing such severe restrictions and setting impossible targets for Snoras, the former
responded that it was not their decision. They said that the decision came from the top and
was made by the President of the Republic of Lithuania.

In April 2011 Mr. Vitas Vasiliauskas, a close ally of the incumbent President Ms. Dalia
Grybauskaite, was appointed the new governor of the Bank of Lithuania. Following his
appointment the punitive restrictions on Snoras intensified, culminating in the seizure of
Snoras, its nationalization and commencement of insolvency.

The Investor and Mr. Raimondas Baranauskas were repeatedly warned about likely
consequences to their business caused by Lietuvos Rytas criticism of the incumbent President,
Ms. Daha Grvbauskaite.

On 19 July 2011, a meeting was held at the Bank of Lithuania. The board of the Bank of
Lithuania attended in full together with the Investor and Mr. Raimondas Baranauskas.
Snoras’s financial position was discussed but the governor of the Bank of Lithuania appeared
more interested in discussing the ownerslup of Lietuvos Rytas.

On Friday 11 November 2011, Snoras was granted a two-month extension to finalise a
previously-agreed plan, sanctioned by the Bank of Lithuania, for the sale of approximately 30)
per cent of the Snoras’s shares to a group of three UK investors. This followed an earlier
agreed capital injection of US $30 million by the Investor. On the same date the Bank of
Lithuania sent Snoras a formal invitation to a meeting to be held on 18 November 2011 to
discuss its approval of this capital injection. However, it is now apparent that on 9 November
2011, prior to the grant of this extension and the setting up of this meeting, the Bank of
Lithuania had already asked the Prosecutor General's Office to commence an investigation
into Snoras.

On 14 November 2011 the Prosecutor General's Office of the Republic of Lithuania inidated
a pre trial investigation into allegations of embezzlement of property of substantial value
belonging to Snoras, money laudering, fraudulent accounting and other acuvitities defined by
the Criminal Code of the Republic of Lithuania as serious offences in patticular, the allegedly
fraudulent transfer of 897 million Litas (US$366 million) to Swiss bank accounts in the name
of the Lavestor.

On 16 November 2011, by Resolution of the Board of the Bank of Lithuania, restriction on
activities of Snoras was imposed until 16 January 2012 and a temporary administrator was
appointed. It is indicated in the conclusion of the Bank of Lithuania regarding the insolvency
of Snoras that according to the balance-sheet statement of Snoras as of 16 November 2011,
the net asset value of Snoras was lower than its liabiliries. As of 16 November 2011, Snoras's
net asset value was 4416,255 million Litas and Snoras’s abilities amounted to 7171,921
mullion Litas. Thus, it was alleged that the net asset value of Snoras is lower than Snoras’s
liabilities by the amounr of 2755,666 Litas. Following suspension of the activities of Snoras
which had no liquidity problems at that time, the Bank of Lithuania and the Government of
the Republic of Lithuanta passed the decision to liquidate the bank de facfo, without even
waiting for the conclusions of the temporary administrator on solvency of Snoras. The
Government of Lithuania made public its intentions to split Snoras assets into two groups. As
such split is impossible without closing Snoras, it was decided on the same day to nationalise
100% of ordinary shares in Snoras and place Snoras into temporary administration.

In the immediate aftermath of rhe scizure several officials issued contradicting statements
about the true solvency position of Snoras, with some claiming that Snoras was solvent.
Case 1:19-mc-00401-AT Document 3-7 Filed 08/29/19 Page 6 of 7

Thus, by seizing Snoras the Government of Lithuania of Snoras ignored the results of the
Bank’s of Lithuania several inspections of Snoras, the last of which was completed on 16
November 2011. There was no public need to nationalise Snoras and no fait compensation
was offered or paid to Snoras shatcholdets in breach of Art.23 of the Constitution of the
Republic of Lithuania, Art. 5 of the Law of the Republic of Lithuania “On compensation for
the damage caused by unlawful actions of the authorities” and Constitutional Coutt tulings as
of 27 May 1994, 22 December 1995 and 18 June 1998. Furthermore, Snoras group was
actively financing other parts of Convers Group and the unlawful seizure of Snoras from its
rightful and diligent owners resulted in a very substantial loss and damage to other parts of
Convers Group, such as Saab Cars AB, Convers Sports Initiatives, Spyker Cars AB, Air Baltic,
Latvijas Krajbanka, and others. The Investor estimates the quantum of this loss and damage
other parts of Convers Group to be c. US$2,4 billion (6 billion Litas) in addition to the loss
and damage caused to him by unlawful seizure of his shares in Snoras, the value of which was
on the 16 November 2011 7,756,671,040 Litas (c. US$3,17 billion). Furthermore, actions of
the Lithuanian Government and, particularly, criminal prosecution of the Investor on
unsubstantiated charges and issue of a European Arrest Warrant for him, precluded the
Investor from taking steps to mitigate the loss and damage to him personally and Convers
Group of which he is the Chief Executive Offiver.

4.

According to part 2 of Article 2 (‘Promotion and protection of investments’) of the BIT each
contracting party guarantees the investors from the other contracting party full protection and
safety for their investments. It follows from this provision that the Investor’s shares in Snotas
should have been protected by the Government of Lithuania against any hostile actions,
including illegal seizures and nationalisation without proper compensation.

In accordance with Article 6 (Expropriation and compensation’) of the BIT investments shall
not be subject to expropriation, nationalization or other actions of this nature except for when
such actions are taken in public interests according to the law without disctimination and
supported by payment of prompt, adequate and effective compensation. The compensation
shall correspond with the market value of exptoprtiated investments directly before the
moment when the information on actual or planned expropriation of such investments
becomes known to the public. The compensation shall be paid without unreasonable delay in
freely convertible currency and shall be freely transferred from one county to the other.
Before the payment date the amount of the compensation shall be added with interest
calculated with reference to LIBOR interest tate.

In breach of Article 2 the Lithuanian Government was actively engaged in various actions
which resulted in the unlawful seizure of Snoras from its shareholdets on the direct order of
the Bank of Lithuania which is an emanation of the Republic of Lithuania, The Republic of
Lithuania has failed to demonstrate the public need for nationalisation and subsequent
bankruptcy of Snoras, thus breaching not only its domestic legislation in force at the time of
the seizure, but also the relevant provisions of the BIT, its own international obligations and
basic principles of international law.

In breach of Article 6 of the BIT the Lithuanian Government at no time ptior to ot following
the completion of the unlawful seizure of Snoras from its shareholders has made any offers
of, entered into negotiations about or made any approaches to the Investor in relation to
payment to him of the adequate and effective compensation.

This letter constitutes notice to the Republic of Lithuania of an investment dispute within the
meaning of part 1 of Article 10 of the BIT. The Investor invites the Republic of Lithuania to
Case 1:19-mc-00401-AT Document 3-7 Filed 08/29/19 Page 7 of 7

tesolve the investment dispute amicably within six (6) months from the date of this letter. If
the amicable resolution cannot be reached within six (6) months, the Investor reserves his
tight to commence binding arbitration under part 2 of Article 10 of the BIT and the Investor
will submit a Request for Arbitration to the International Chamber of Commerce in Paris,
France.

For and on behalf of Mr. Vladimir Antonov

 

Mr. Andrei Liakhovy Ph.D.
Partner

Sayenko Kharenko LLC
10 Muzeyny Provulok
Kyiv 01001, Ukraine
Tel: +380 44 499 6000
Fax: +380 44 499 6250

[©] April 2012
